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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


IN RE:                                      )      Case No.: 19-02578-RLM-13
                                            )
ROBERT TODD CULP,                           )       Chapter 13
                                            )
                       Debtor.              )


                            OBJECTION TO CHAPTER 13 PLAN

         Secured Creditor CadleRock Joint Venture, L.P. (“CadleRock”), by and through its

undersigned counsel, objects to the confirmation of the currently proposed Amended Chapter 13

Plan (“Plan”) filed by Robert Todd Culp d/b/a KOA Properties, etc. (“Debtor”) on the ground that

it fails to meet the requirements of 11 U.S.C. § 1325(a)(5) because it fails to provide for the

repayment of CadleRock’s secured mortgage-lien security interest in the Debtor’s property at 146

Nursery Road, Anderson, Indiana. As grounds for and in further support of its objection,

CadleRock states the following:

                                   I.     INTRODUCTION

         As evidenced by the claim (#9) it filed, CadleRock holds a secured junior mortgage and

judgment lien (“secured lien”) -- obtained via assignment from PNC Bank, which already holds a

prior mortgage in Debtor Culp’s residence— in Debtor Culp’s residence at 146 Nursery Road,

Anderson, Indiana 46012 (“residence”). Debtor Culp is indebted to CadleRock concerning the

secured lien in the sum of $36,735.79. The Debtor’s schedules and Amended Plan fail to

acknowledge CadleRock’s secured position – presumably because Debtor Culp has undervalued

his residence at $80,000.00, claimed an exemption for $5,000.00 under Ind. Code § 34-55-10-
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2(c)(1), and listed PNC as the only creditor with a secured lien—PNC’s senior mortgage for

$75,000.00—in his residence.

                                II. ARGUMENT AND ANALYSIS

       A.       Debtor Culp Has Undervalued His Residence

       As this Court is well aware, bankruptcy courts make judicial valuations of residences under

11 U.S.C. § 506(a) and “determine the value of real property using fair market value principles.”

In re Witte, 2011 Bankr. LEXIS 1136, 2011 WL 1134683, *4 (S. D. Ind. Mar. 23, 2011) (citing

Profitt v. Mendoza, 2004 U.S. Dist. LEXIS 27375, 2004 WL 3223059, *8 (S. D. Ind. Nov. 23,

2004)).1 The value of a secured creditor’s collateral in a chapter 13 case is usually determined

through the plan confirmation process. In re Duggins, 263 B.R. 233, 234 (Bankr. C.D. Ill. 2001).

Should the creditor believe that the chapter 13 plan understates the value of the creditor’s collateral,

“the creditor may object to confirmation and request a valuation hearing.”2 Id.

       Here, CadleRock believes that Debtor Culp undervalued the real-property collateral that

secures the debt owed to CadleRock3 and believes the Court should resolve that factual question

at a valuation hearing.


1
  “The three universally recognized approaches using fair market value principles are (1) the
market or sales comparison approach, based on evidence of comparable sales; (2) the cost or land
development approach, based on actual costs of construction, reduced for depreciation; and (3) the
capitalization of income approach, which capitalizes the net future income that the property is
capable of producing.” In re Witte, at *4.
2
  Section 506(a)(1) permits a hearing before a court to determine the value of real property by
providing that “[s]uch value shall be determined in light of the purpose of the valuation and of the
proposed disposition or use of such property, and in conjunction with any hearing on such
disposition or use on a plan affecting such creditor’s interest.” See 11 U.S.C. § 506(a)(1) (emphasis
added).
3
 11 U.S.C. § 501(a) provides that “a claim filed under § 501 is deemed allowed unless a party
objects.” In re McNichols, 255 B.R. 857, 872 (Bankr. N.D. Ill. 2000); see also Adair v. Sherman,
230 F.3d 890, 894 (7th Cir. 2000); In re Ross, 162 B.R. 785, 788 (Bankr. N.D. Ill. 1993) (“A proof
of claim executed and filed in accordance with the Bankruptcy Rules constitutes prima facie
evidence of the validity and amount of the claim.”). A chapter 13 plan may not modify the rights
                                                   2
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       B.      The Court Should Deny Confirmation Of the Debtor’s Amended Plan Because

               It Fails To Provide Payment for CadleRock.

       The Debtor has the burden of proving that his or her plan complies with 11 U.S.C. § 1325

requirements for confirmation. See In re Thornton, 2016 Bankr. LEXIS 2089, 2016 WL 3092280,

at *2-3 (Bankr. S.D. Ind. May 23, 2016) (collecting cases). A chapter 13 plan cannot be confirmed

under 11 U.S.C. § 1325(a) “unless one of the following conditions is met with respect to all secured

claims: (1) the secured creditor consents, (2) the debtor surrenders the collateral, or (3) the plan

contains certain required provisions to pay and protect the lien holder.” In re Shannon, 2018

Bankr. LEXIS 2730, at *43 (Bankr. N.D. Ill. Sept. 7, 2018). Here, none of the conditions is met.

CadleRock, a secured creditor, does not consent to the Debtor’s Amended Plan, the Debtor has not

surrendered the real property, and the Amended Plan contains no provisions to pay or protect

CadleRock’s secured position. Accordingly, the Court should not confirm the Amended Plan.

                                      III.      CONCLUSION

       Accordingly, CadleRock respectfully asks that the Court sustain its objection to

confirmation of the Debtor’s Amended Plan.




of a creditor whose claim is secured “only by a security interest in real property that is the debtor’s
principal residence.” 11 U.S.C. § 1322(b)(2); see In re Quevedo, 2015 Bankr. LEXIS 3539, at *8
(Bankr. C.D. Cal. Oct. 19, 2015) (citing Nobelman v. American Sav. Bank, 508 U.S. 324, 327-28
(1993)). If the claim of a lien holder secured only by the debtor’s principal residence is completely
or wholly unsecured, the anti-modification provision in 11 U.S.C. § 1322(b)(2) does not apply and
“a debtor may utilize 11 U.S.C. § 506(a) under a chapter 13 plan to effectively ‘strip off’ a wholly
unsecured lien.” In re Quevedo, 2015 Bankr. LEXIS 3539, at *9 (Bankr. C.D. Cal. Oct. 19, 2015)
(citing Zimmer v. PSB Lending Corp. (In re Zimmer), 313 F.3d 220 (9th Cir. 2002)). However,
there only needs to be sufficient value in the collateral to cover some portion of the creditor’s claim
for the anti-modification exception in 11 U.S.C. § 1322(b)(2) to apply. First Bank, Inc. v. Van
Wie, 2003 U.S. Dist. LEXIS 4512, 2003 WL 1563959, at *9 (S.D. Ind. Jan. 8, 2003).


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                                            Respectfully submitted,

                                            /s/ Trevor W. Wells
                                            Trevor W. Wells (#31156-64)
                                            REMINGER CO., L.P.A.
                                            One Professional Center, Suite 202
                                            2100 North Main Street
                                            Crown Point, IN 46307
                                            (219) 663-3011
                                            (219) 663-1049 (fax)
                                            twells@reminger.com

                                            Counsel for Defendant
                                            CadleRock Joint Venture, L.P.

                               CERTIFICATE OF SERVICE
        I hereby certify that on August 13, 2019, the foregoing was filed electronically, which
resulted in electronic notice of its filing to the following parties by operation of the Court’s
electronic filing system, through which parties may access the filing:

       U.S. Trustee
       ustpregion10.in.ecf@usdoj.gov

       Trustee
       Ann M. DeLaney
       Office of Ann M. Delaney
       ECFdelaney@trustee13.com

       Steven J. Halbert
       shalbertlaw@gmail.com


                                            /s/ Trevor W. Wells
                                            Trevor W. Wells (#31156-64)
                                            REMINGER CO., L.P.A.




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